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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

"DEUTscHEi§ANKNA'rIoNAL rRUsT__" 7 ' ' " " j
COl\/[PANY, solely in its capacity as

Trustee rome MoRGAN sTANLEY 1 g M §§ § mi 0 1
sTRUCTURED TRUsT12007-1, - c L w - w §

Plaintiff, - Civil Action No.

 

`i

V.

 

 

MORGAN STANLEY
MORIGAGE CAPITAL
_HOLDINGS LLC, as Successo'r-b'y-
Merger to MORGAN STANLEY
MORTGAGE CAPITAL INC.

 

 

 

 

 

Det`endant.

 

 

Plaintiff Deutsche Bank National Trust Company, solely in its capacity as Trustee for the
Morgan Stanley Structured Trust I 2007-l (the “Trust”), _brings this Cornplaint against Defendant
Morgan Stanley Mortgage Capital I-Ioldings LLC, as Successor-by-Merger to Morgan Stanley
Mortgage Capital Inc. (“Morgan Stanley Capital”). The Trustee hereby alleges as follows:

NATURE OF THE ACTION

l. This action arises horn Morgan Stanley Capital’s failure to honor its contractual
commitments arising out of its central role in a residential mortgage-backed securitization.
Morgan Stanley Capital served as the Sponsor in that securitization, selling 4,374 mortgage loans
(the “Loans” and each a “Loan”) With an aggregate principal balance of $735,100,464 into a
securitization trust. The Mortgage Loans Were pooled and securitized in the Trust, Which issued

certificates (the “Certiticates”) that Were sold to investors (the “Certiiicateholders”). Those

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l ` ' Loans were (and remain) the sole source of income from which the Trust makes payments to

Certificateholders.

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Certificateholders that the borrowers would be likely to repay the Loans. lt did so in three ways:
First, by making a series of representations and warranties regarding underwriting of the Loans,

the creditworthiness of the borrowers, and the risk of repayment of the Loans; _secomi",_A by '
promising to notify the Trustee of breaches of those representations and Warranties; and third, by _., *
promising to cure or repurchase Loans that materially breached the. representations and
warranties

3. A preliminary -mvestigation has uncovered that at least l-,~620 Loans are defective
because the borrowers were not creditworthy or because the Loans di_c_l not conform to
underwriting standards. And of the 553 Loans forensically reviewed“by..a re-underwriting firm,
nearly 93 % of those Loans (513 thus far) materially breach Morgan Stanley Capital’s
representations and Warranties. On information and belief, the remainder of the Loans, `if ‘
reviewed, would exhibit a similar defect rate. Indeed, the breaches are so pervasive throughout
the Trust that Morgan Stanley Capital knew or should have known of those breaches long before
the Trustee provided notice.

4. Not only has Morgan Stanley Capital failed to notify the Trustee of any breaches,
but it has failed to repurchase the vast majority of Loans that breach the representations and
warranties it made. The Trust, and consequently Certii'icateholders, has suffered more than $306
million in losses to date, which is over 41% of the original loan balance.

5. Accordingly, the Trustee, on behalf of the Trust, brings this action to enforce the

contract and receive the benefit of the parties’ bargain.

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THE PARTIES

6. Deutsche Bank National Trust Company, acting solely in its capacity as Trustee on

 

‘ `belialf‘a'f`tlie"""l`r‘ust iii"this"aatioii"(the`“Trusfée”):serves as the Trustee foir¢tlie"l`rust. "`Thé Tfijsfe'e" ` "

participates in this action solely in its capacity as Trustee of the Trust, and not in its individual
capacity. The Trustee is a national banking association. The Trustee's principal place of business
is in Los Angeles, California, and its principal place of trust,admim`stration is in Santa Ana,
California. v

7. Defendant Morgan Stanley Capital is a limited.liability company formed under the
laws of New York with its principal place of business in New York. Morgan Stanley Capital’s `
sole member is Morgan Stanley, which is incorporated in Delaware, with its principal place of ‘
business in New York. n

`JURIsDICHoN AND vENUE

8. This Court has jurisdiction over the subject matter of- this action pursuant to 28
U.S.C. § 1332 because there is complete diversity of citizenship between the parties and the l
amount in controversy, exclusive of interest and costs, exceeds $75,000.

9. Venue is proper in this district pursuant to 28 U.S.C. § 1391, because Morgan
Stanley Capital resides within this district and because a substantial part of the events giving rise
to the claims occurred within this district

FACTUAL ALLEGATIONS
I. THE 2007~1 MORTGAGE SECURITIZATION DEAL

10. The Trust stands at the center of a mortgage-backed securitization, a process in

which residential Loans are pooled and deposited into the Trust for the benefit of

Certiflcateholders (the “2007¥1 Deal”). These Loans serve as collateral for securities, called

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“Certificates,” issued by the Trust. The Certificates generate cash flow to Certificateholders

when borrowers make principal and interest payments on the Loans in the Trust.

the underlying mortgages actually repay their Loans, the value of the Certificates depends upon
the quality of the individual Loans within the Loan pool. Accordingly, the Loans deposited into

the Trust were subject to a specific set of representations and warranties regarding their kind,

character, and quality, which Were meant to ensure that borrowers were creditworthy. and that the

Loans would be repaid on time.
12. The 2007-l Deal was created in 2007 through a transaction structure that is standard

within the securitization industh ,_

13. First, Morgan Stanley Capital _and EMC Mo_rtgage Corporation (‘fEMC”) (each a

“Seller” and collectively the “Sellers”) sold _a pool of‘Loa-ns to Bear Stearns Ass`et Ba_cked
Securities I LLC (the “Purchaser”), through a Mortgage Loan Purchase Agreement (“MLPA-”);
the l\/[LPA is attached as Exhibit l to this Complaint.

14. Second, the Purchaser agreed to deposit the Loans into na trust fund and create the
certificates l

15. Thz'rd, the Purchaser (as depositor of the Loans); Wells Fargo Bank, National
Association (as master servicer and securities administrator); and Deutsche Bank National Trust
Company (as Trustee) entered into the Pooling and Servicing Agreement (“PSA”), which created
the Trust; the PSA is attached as Exhibit 2 to this Complaint. The PSA and the MLPA (the
“Agreements”) both have a defined closing date of July 6, 2007.

16. Fourth, upon the closing of the transaction, the Trustee issued Certiiicates to

Certificateholders.

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l7. Fifth, the parties to the securitization agreed that, after closing, Loan payments were

to be collected by “Servicers,” parties independent of the Trustee, and then passed.on to the Trust

"""foi*‘ payment of income tomCértificateholde_rs.""" m

18. The entire transaction was set up so that Morgan Stanley Capital could sell the
Loans to the Trust and their future cash flows to Certificateholders in exchange for collecting
substantial fees up ii'ont. The Certiticateholders’ ability to receive those future cash flows
largely depended on borrowers’ ability to repay the L.oans,¢which in turn depended on the quality
of the Loans and their-compliance with underwriting guidelinesl. Because Certificateholders had

no Way of verifying the underwritmg and due diligence that had been done as to the Loans, they

had to rely on the representations of Mor_tgage Stanley Capital in that regard.

II. MORGAN STANLEY CAPrr_AL’s CoNTRACrUAL OBLIGATIoNs
. A. Morgan Stanley Capital’s_Representation-s. and Warralities

19. Certificateholders are several steps removed from the actual borrowers Whose
future payments they effectively purchased As is standard in the securitization industry,
Certificateholders did not have access to loan-level detail about whether the individual Loans in
the pool _ which comprised thousands of homes and borrowers across the country - were in fact
what they were represented to be.

20. Morgan Stanley Capital, by contrast, had a great deal more information. As
discussed below, prior to acquiring any Loans, Morgan Stanley Capital was able to conduct a
review of the loan seller as well as conduct Loan due diligence, including an underwriting
guideline revieW.

21. To address the Certificateholders’ lack of knowledge, Morgan Stanley Capital made

a series of representations and Warranties concerning the Loans’ quality and characteristics in the

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MLPA. MLPA § l()(a), (b)(l)-(24). The representations and warranties cover, among numerous

factors, such basic issues as the absence of fraud, error, or negligence when originating the Loans

 

 

 

 

and the Loans’ compliance with underwriting smudafds."`Morgan" Stanley Capitalalso"has a duty a
under the MLPA to repurchase Loans that breach any representations and Warranties such that
the breach “materially and adversely affects the value of the interest” of the Trust and
Certificateholders in that Loan (the “Defective Mortgage Loans” and each a “Defective
Mortgage Loan”).

22. At closing, Morgan Stanley Capital delivered to the Purchaser 'a schedule
containing certain data about the individual Mortgage lioans' ~(the_ “Mo_i'tgage Loan Schedule”).

"See MLPA § 3. ~ Morgan Stanley Capital also represented'and`warranted that the information
contained in such Mortgage Loan Schedule would be complete and true. ’MLPA §lO(a).

23. In making these representations and warranties, Morgan Stanley Capital assured the
various participants in the securitization, including then Trustee and the Certificateholders, that
Morgan Stanley Capital would bear the`risk that the Loans failed to.adhere to minimum quality
staiidards. Morgan Stanley Capital thus accepted the risk that the Loans might be defective and
carry concealed risks arising from such things as un-creditworthy borrowers, inflated appraisals,
or poor underwriting Morgan Stanley Capital’s representations and warranties expressly
survived the closing of the 2007-l Deal.

24. These representations included:

a. “The information set forth in the Mortgage Loan Schedule relating to the
Mortgage Loans is complete, true and correct as of the Cut-off Date,” MLPA

§ 10(3)(1);

b. All requirements of any federal, state or local law had been complied with,
MLPA § lO(a)(2);

c. The mortgage and related agreements were, to Morgan Stanley Capital’s

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knowledge, not falsified and contained no untrue statement or omission of
material fact required to be stated therein, l\/]LPA § lO(b)(S);

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" ' abb'§lératioiiasxisting Undéf"thé Mortgage "'o"rw’t]l"e"'"Mol"'tgage'Notea_`aiid rio eva-lit
which, with the passage of time or with notice and the expiration of any grace or
cure period, would constitute a default, breach, violation or event which would
permit acceleration,” MLPA § lO(b)(7);

e. “No MSMCH Represeiited Mortgage Loan has an LTV greater than 100%,”
l\/]LPA § lO(b)(ZI); and '

f. Origination of the mortgage did not involve any predatory or deceptive lending
practice, MLPA § lO(a)(Z).

25... Through several representations and warranties '- such as ‘ the no-f`raud
representation set forth above and the representation.'and_warranty that borrowers would not be
approved for a higher-cost product unless their credit'history, income, assets,_.~and liabilities
warranted such a step, see l\/ILPA §..lO(b)(l3) - Morgan Stanley Capital also represented and
warranted that the Loans were originated consistent with the underwrng guidelines.

26. Morgan Stanley Capital’s representations and warranties and its obligation to
remedy any breaches thereof provided assurances that inoderated the risks inherent to owning
Certificates that provided an income stream based on whether borrowers repaid the Loans.
Allocating the risks associated with Defective Mortgage Loans to Morgan Stanley Capital was
an important component of the 2007-l Deal and reflected Morgan Stanley Capital’s significant
informational advantages over Certificateholders.

B. Morgan Stanley Capital’s Notice and Repurchase Obligations

27. The parties to the MLPA agreed that if Morgan Stanley Capital breached any of its
representations and warranties as to any Loan, and that such breach “materially and adversely

affects the value of the interest” of the Trust and Certificateholders in that Loan, Morgan Stanley

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Capital Would be obligated to cure the breach(es) or repurchase the affected Loan(s). l\/lLPA

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Certificateholders) and make it whole in the event that a Loan breached applicable
representations and warranties That promise - an industry-standard, bargained-for protection _
ensures that Morgan Stanley Capital retains the risk of Defective Mortgage Loans throughout the
securitization. The remedial framework comprises two main components: notice and repurchase.

l. Notice
29. First? Morgan Stanley Capital was obligated to provide “proinpt written notice” of-a
breach upon “discovery.” MLPA § 10. Morgan Stanley Capital’s duty applies regardless of
Whether the other parties to the_ securitization learned about-the breac‘h. l\/lLPA § 10. It also
applies whether or not the breaching Loan is in default d
2. Repurchase
a. The Scope and Purpose of the Repurchase Obligation
30. Second, Morgan Stanley Capital also expressly obligated itself to cure any defects
in a Loan that materially and adversely affected a Loan’s value, or to repurchase that Loan at the
, applicable purchase price. MLPA § 10. (Although Morgan Stanley Capital formerly had the
option under the l\/ILPA to substitute new replacement Loans for Defective Mortgage Loans, that
option expired on the two-year anniversary of the Closing Date.)
31. SpeciEcally, Morgan Stanley Capital agreed that, if a Loan breached one of the
representations and Warranties it made, and that breach “materially and adversely affects the

value of the interests of the Purchaser” in that Loan, Morgan Stanley Capital was obligated to

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“cure such breach in all material respects” or repurchase the Loan at the applicable “Purchase

Price” (the defmition of which is also discussed further below). MPA § 10.

 

 

325 The obligatian to cure or repurchase vrn"ay'"h'e'triggeredbyl\7l_organStanleyCapital§ " ' "
discovery of its own breaches, or by notice to Morgan Stanley Capital of such a breach from
another paity. MLPA § 10. Thus, regardless of whether Morgan Stanley Capital itself or
another party discovers a breach, the MLPA makes clear that Morgan Stanley Capital is obliged '

“to cure such breach in all material respects” or to repurchase the materially defective Loan.

33. ln addition, certain of the Loans sold into the Trust were originated by an'eiitity , . ` '
called Accredited Home Lenders, lnc. (“Accredited”).. The l\/[LPA_ provides that, ifa Loan
originated by Accredited (an -_ “Accr'edited Moitgage Loan”) contains any breach of a
representation and warranty made by Accredited that materially and adversely affects tlie~'-value
of the Loan, and if Accredited fails to cure any such breach or repurchase the Loan, “[Morgan-
Stanley Capital] will cure, substitute or repurchase _such Accredited Mortgage Loaii” within the
90-day period. ierPA § 10. '

34. Morgan Stanley Capital is obligated to cure or repurchase regardless of whether or
not it has any knowledge of the breach when it occurs. l\/ILPA § 10. By contrast, Morgan
Stanley Capital did not negotiate for, and did not receive, any contractual right to “rebut” notices
of material breaches or any mechanism to challenge whether a breach actually exists.

35. Morgan Stanley Capital must cure or repurchase a Defective Mortgage Loan
regardless of the Loan’s performance The l\/lLPA makes clear that Morgan Stanley Capital’s
cure-or-repurchase obligation continues regardless of whether any Defective Mortgage Loan is
modified, foreclosed, or liquidated

36. The transaction parties expressed their intent that the obligation to cure or

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repurchase would accrue under specified conditions The l\/ILPA stated:

Any cause of action against MSMCH or relating to or arising out of a breach by

MSMC¢H¢of¢any representationsiand¢warranties¢made¢in¢this¢$ection 10 shall ii 7 n f 7

 

accrue as to any"'MSMCH'Repfesente'd Mortgage Loan upon "(ij"discovary af 's'iich

breach by MSMCH or notice thereof by the party discovering such breach and (ii)

failure by MSMCH to cure such breach, purchase such MSMCH Represented

Mortgage Loan or substitute a qualifying Replacement Mortgage Loan pursuant

to the terms liereof.

MLPA § 10.

37. The Trustee is contractually empowered pursuant to the PSA to enforce Morgan
Stanley Capital’s obligations, including its repurchase obligations arising from breah_hes of the
representations and warranties PSA § 2.02(d). . .

38. 7 Absent a repurchase obligation, mortgage`securitization can alter the relationship
that traditionally incentivized prudent lending, i.e., the originator retaining the risk of` loss
through the life of the loan. ln the securitization context, originators earn a profit ii:om_ the sale
of the loan rather than the interest spread.r' .Once~the loans are sold5 the credit risk on those loans
shifts to investors And` investors lack the loan-level information needed to fairly assess that
credit risk.

39. Thus, the representations and warranties regarding Loan underwriting, combined
With the obligations of notice and cure or repurchase, provide an economically rational means of
addressing the credit risk assumed by Certiticateholders.

b. The Purchase Price

40. The MLPA establishes the amount of money the Trust is to receive in the event of a
material breach, That amount is the “Purchase Price,” defmed as:

(i) 100% of the principal remaining unpaid on such Mortgage Loan as of the date

of purchase (including if` a foreclosure has already occurred, the principal balance

of the related Mortgage Loan at the time the Mortgaged Property was acquired),
net of any Servicing Advances and Advaiices attributable to principal and payable

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to the purchaser of the Mortgage Loan if such purchaser is also the servicer of
such Mortgage Loan, (ii) accrued and unpaid interest thereon at the applicable
Mortgage Rate through and including the last day of the month of such purchase,

Loan if such purchaser is also the servicer of such Mortgage Loan, plus (iii) any

costs and damages (if any) incurred by the Purchaser in connection with any

violation of such Mortgage Loan of any anti-predatory lending laws.

41. As that defmition makes clear, Morgan Stanley Capital did not negotiate a sunset
provision that would end its repurchase obligations in the event a hoari was liquidated as a result
of a foreclosure necessitated by a borrower’s failure to repay the Loan. T.o the contrary, the
definition of ‘fPurchase Price” could not be clearer: When “a foreclosure has already occurred,”
the “Purchase Price” includes “the principal balance of the- related Mertgage Loan at the time the
Mortgaged Property was vacquired.;’ d l 1 ~ l

42. The MLPA thus makes it clear that Morgan Stanley Capital;`srepresentations and
warranties and the associated cure-'or-repurchase obligation continue regardless of modificatiom
foreclosure, or liquidation of a Loan." This is consistent with industry practice. Within'the
residential mortgage-backed securities industry, “repurchase” obligations like those set forth in
the MLPA are understood to encompass a sponsor’s broad and general duty to make a Trust
whole, regardless of the Loan’s status as performing or non-performing, active or liquidated.
Similarly here, the text and purpose of the Purchase Price definition in the MLPA are clear that
this two-part remedial Bamework operates to make the Trust whole, regardless of when the
repurchase takes place. If this were not the case, it would create perverse incentives for
responsible parties such as Morgan Stanley Capital to delay repurchasing defective mortgage
loans until the point at which the loan had been liquidated, and thereby inoculate the responsible
party from its repurchase obligations This was not the parties’ intent when building the

repurchase obligation into the Agreements.

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C. The Basic Bargain

43. Thus, the basic bargain of the parties was as follows: Morgan Stanley Capital

 

 

 

 

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that money, Morgan Stanley Capital conveyed the Loans and the right to receive Loan payments
into the Trust; it made an extensive series of representations and warranties regarding the
creditworthiness of the borrowers and the riskiness of the Loans; it promised to notify the
Trustee of breaches of representations and warranties; and it promised tocure o'r repurchase
Loans that breached the representations and warranties

iII. MO`RGAN STANLEY CAPITAL BREACnEI) ITs REPniisiiNThiioNs&AND WARRANTiEs

44. The po_ol_'of Loans Morgan Stanley flapital sold to the Trust is replete with material `
breaches of the representations and_warrantiesconcerning the quality of the _Loans and the l
borrowers’ creditworthiness d

45. Those breaches are grossly negligent given that, on infomiation and belief, then
Loans were made without following minimal underwriting standards or verifying basic and
critical information about mortgage borrowers Upon information and belief, discovery will `
show still further evidence of Morgan Stanley Capital’s gross negligence pervadii_ig the pool of
the entire 2007-l Deal.

46. Morgan Stanley Capital’s decision to include at least 1,620 Loans in the Trust that
materially breached the representations and warranties it made - and its subsequent decision to
refuse to cure or repurchase over 90% of those Loans - fundamentally upset the transaction
contemplated by the parties and their Agreements. The sheer volume of Defective Mortgage
Loans sold to the Trust by Morgan Stanley Capital far exceeds the reasonable expectations of the
parties and the scenarios contemplated in the contracts W`hile the Agreements provide for the

occasional, one-off repurchase of a defective Loan, the cure-or-repurchase mechanism was

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simply not designed to deal with the thousands of Defective Mortgage Loans currently in the

Trust.

 

`A;" 'The"Breach` Notii:e"and Repiii"`éliase Den`ia`iid ` ` `"`

47. On April 4, 2013, the Trustee sent a letter (the “Letter”) to Morgan Stanley Capital
enclosing a breach notice (the “Breach Notice”). The Breach Notice informed Morgan Stanley
Capital that it had breached one or more representations and warranties for each of 1,620 unique
Loans.‘ lt also demanded that Morgan Stanley Capital cure or repurchase each Defective
Mortgage Loan within the 90-day period required by the MLPA and PSA. A redacted copy of

_the Letter and Breach Notice is attached to this Complaint as Exhibit 3.- Given the pervasive
nature of the breaches identified throughout the Trust in the Breach Notice, Morgan Stanley
Capital has received sufficient notice of widespread breaches in the Trust~to trigger its cure or'
repurchase obligation with respect to all l'De'fectiv.e Mortgage Loans As of the date of ther-filing _-
of this Complaint, the 90-day cure period required by the MLPA and PSA-“has passed, and
Morgan Stanley Capital has failed to cure or repurchase all but 149 of those Loans_. ‘ n il

48. Of the 1,620 Defective Mortgage Loans, approximately 300 were Loans originated
by Accredited. The Certificateholder copied Accredited on the breach notice sent to the Trustee
on April 3, 2013 concerning the defective Accredited Mortgage Loans; on April 8, 2013, 7
Accredited’s legal counsel responded that the company had filed for bankruptcy; that the
corporation had been dissolved; and that it had distributed all its assets, leaving it~unable to cure
or repurchase the defective Accredited Mortgage Loans (A redacted copy of that breach notice

n (and Accredited’s response) is attached to this Complaint as Exhibit 4.) Under Section 10 of the
MLPA, Morgan Stanley Capital is thusresponsible for curing -or repurchasing those Loans as

well.

49. The 1,620 Defective Mortgage Loans were identified through a forensic analysis

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process Some of the Defective Mortgage Loans were identified by a forensic analysis that

combined a review of publicly available records, tax records, and credit records with the use of a

 

 

 

' piop'rietary:'industr`y_-`standar'd automated "valuation` "iiiodel '(“'AVNI”)"`to`determ"m in""eithe`"value of” '

each mortgaged property as of the origination date. Other Defective Mortgage Loans were
4 identified through forensic accounting methodologies and analysis of publicly available records
These two forensic analyses revealed that 1,344 Loans were defective.

50. . Finally, 513 Defective Mortgage L'oans (including some of the same Defective
Mortgage Loans discussed above) were identified through a forensic review of the I_.oan files
underlying the Loans The re-u_nderwriting process involved a thorough analysis of Loan files,
including Loan applications documentation of the borrower’ s assets and publicly available
information such as bankruptcy"records. (Tlie process by which a lender decides whether to
make a loan is referred to as the “underwriting” of the loan; the process of reviewing existing
loans to assess their compliance with applicable standards is known as “re-underwriting.”) The
loan-file review was performed by an industry-recognized firm (the “Re-iinderwriting Firm”)
with specialized expertise in re-underwriting mortgage loans to assess their compliance with
applicable underwriting guidelines and originator representations and warranties

51. The breaches identified by the Re-Uiiderwriting Fimi are extensive, demonstrating
a wholesale abandonment of underwriting guidelines and prudent underwriting practices The
paragraphs below summarize several of the most common types of defects discovered, together
with representative examples of each.

i. Income Misrepresentations

52. The Trust is replete with Defective Mortgage Loans in which the borrowers
reported grossly incorrect incomes ln most of these cases, the income misrepresentations were

so blatant that Morgan Stanley Capital must have known (or at least should have kiiown) about

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them at the time the Loans were originated Many of the claimed incomes were wholly

` unreasonable given the borrower’s asserted employment, locale, and years of job experience

 

 

 

Frequeiitly: borrowers 'claimed“"tha_t"th"eir" `iiiceines` were many tn;es"gfeater thaiithe 'expeete'd
range of incomes for the borrower’s stated occupation, as determined by data published by the
United States Bureau of Labor Statistics and fi‘equently utilized in the industry during the
mortgage underwriting process d
53. A loan with inaccurate income information breaches numerous representations _and
warranties made by Morgan Stanley Capital. For example, if the borrower secured a loan he
could not afford by misrepresenting income, then the loan would at least breach then
representations that‘ ‘there [was] no default, breach, Violation or event which would permit
acceleration existing under the Mortgage or the Mortgage Note and no event which with the

passage of time ‘or with notice and the expiration of any grace or cure period, would constitute a

a default breach, violation or event which would permit acceleration.” MLPA § lO(b)(7) lt

Would also breach the iepresentation that the Loan was free nom “fraud error, omission, "
misrepresentation, negligence or similar occurrence[s].” Id. § 10(b)(5). These borrower
misrepresentations and similar occurrences are defaults under the applicable Loan documents

54. Misrepresentation of income “materially and adversely” affects the value of the
Loans and the Certificateholders’ interest in those Loans - for obvious reasons Borrowers who
take out mortgages by misrepresenting income are far less likely to pay those Loans on time on
time - if they can pay them at all- making the mortgages more risky than they appear. The
following are a few of the Loans that reflect breaches relating to misrepresentation of income:

o _ Loan A (*******5651): ln a loan that closed in 2006, the borrower secured a

mortgage with an original principal balance of $536,000. 111 the loan application,
the borrower reported an~ income of $12,000 per month from her employment at a

 

1 Loan numbers are partially redacted for consumer conndentiality purposes

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collections agency. A 2006 W-2 form submitted to the originator’s loss-mitigation
department, however, revealed that the borrower’s actual monthly income was only
$1,347.95, barely 10% of the figured claimed on the loan application.

 

55.

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mortgage with an original principal balance of $188,000. ln the loan application,
the borrower claimed to earn $ll,250 per month as a commercial driver. That
claimed income is so unreasonable that it would have put the originator on notice of
possible misrepresentations Data from the United States Bureau of Labor Statistics
show that the 90th percentile of income for a commercial driver in the borrower’s
geographic area in 2006 was $4,104.17 per month, barely a third of what the
borrower claimed to earn on` the loan application The originator, accordingly,

should have been on notice for misrepresentation given the boirower’s

unreasonably large income. But there is no evidence in the loan file that the

originator did any additional work to verify the borrower’s income.

Loan C (""""*"""‘**750): In a loan that closed in 2007, the borrower secured a
mortgage with an original principal balance of $225,000. In the loan application,
the borrower claimed to earn $6,550 per month as a truck driver. ,~However, no
evidence in the loan file shows any effort by the originator to verify the claimed
income. Later bankruptcy filings revealed the borrower’s real income at the time of
origination was $3,333.33 per month, roughly"` half that claimed on the loan
application. ` 7

Loan D (*******951): 111 a loan that closed in_ 2007, the borrower secured a
mortgage with an original principal balance of $216,000. On the loan _application,
the borrower claimed to earn $3,896 per month as a “school transportation
associate” for a school district A 2006 W-2 acquired by the originator’s loss-
mitigation department revealed that the borrower’s actual monthly income was
$663.83, just a iaction of the claimed amount

ii. Misrepresentations of Debt Obligations

The Re-Underwriting Firm also discovered numerous Loans to borrowers with debt

obligations that were not disclosed on the loan application. Undisclosed debt obligations at the

very least, violate the no-default and no-fraud representations set forth above, as well as the

representation that the information set forth in the Mortgage Loan Schedule was complete, true,

and correct, MLPA § 10(a)(l). Breaches arising nom misrepresentation of debt obligations have

a material and adverse effect on the value of the applicable Loan for much the same reason that

income misrepresentations do: they increase the possibility that the borrower does not have

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sufficient means to repay the Loan. The following are a few of the many examples of breaches

relating to misrepresentation of debt obligations

 

 

Loan E (**"“”"`“”""‘875): ln a loan that closed iii 2007 the borrower secured a

mortgage with an original principal balance of $628, 000.00. Analysis by the Re-
Underwiitiiig Firm revealed that the boirower failed to disclose two separate
mortgages that the borrower had taken out in the two weeks prior to the loan’s

. closing date. Those undisclosed debts totaled over $1 million, with total monthly

payments of approximately $6,104.

Loan F (""“"‘****286): In a loan that closed in 2007, the borrower secured a
mortgage with an original principal balance of $359,900.00. Analysis by the Re-
Underwriting Firm revealed that the borrower failed to disclose a separate mortgage
in the amount of $379,000 that the borrower had taken out only three months prior
to “the loan’ s closing date. As a result of the undisclosed additional debt, the
borrower’ s actual debt- to- -income ratio (“DTI”) at the time o__f origination was

_ 439. 71%, far above the allowed DTI.

56.

Loan G (**"‘***595): In a loan that closed in 2007, the borrower secured a
mortgage with an original principal balance of $290, 700. 00. Analysis by the Re-
Underwriting Firm revealed that the borrower failed to disclose multiple mortgages
that the borrower had taken out only a week prior to the closing date of the Morgan _
Stanley Capital loan. In the week before closing, the borrower had refinanced two
properties and purchased a third property with liens totaling $848, 000 and
corresponding monthly payments of $6,125. Because the borrower did not report_"'

any of those mortgages the loan application contains demonstrable _
misrepresentations

iii. Employment Misrepresentations

The Re-Underwriting Firm also discovered numerous Loans for which the

borrowers misrepresented their employment status at originatioii, their employment history, or

both. Misrepresentations of employment violate, at the least, the` no-default and no-fiaud

representations set forth above and the representation that the information set forth in the

Mortgage Loan Schedule was complete, truei and correct, MLPA § 10(a)(1). Such

misrepresentations also have a “material and adverse” effect on the value of the applicable Loan.

A borrower’s employment status is critical to his or her ability to repay the Loan, and

misrepresentations concerning employment obscure that the Loan was far riskier than

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represented

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The following are a few of the many examples of breaches relating to

misrepresentation of employment:

 

 

 

57.

Loan H (*******748) 1r1 a loan that closed in 2007, the borrower secured am l

mortgage with an original principal balance of 8359,800.00. The borrower claimed
on the loan application to work as a namer for a construction company. However,
the credit report obtained during origination, as well as a later-filed tax return,
reveal that the borrower never held that occupation. The file contains no evidence
that the originator ever obtained any documentation to verify the borrower’s

'employment, let alone to investigate the obvious discrepancy in the loan file.

Loan I ("‘**"‘*******585): ln a loan that closed in 2006, the borrower secured a
mortgage with an original principal balance of _$705,000.00. The borrower claimed
on the loan application to work for a construction company. However, the credit -
report obtained during origination, as well as a later- filed tax return, reveal that the
borrower never held that occupation, and was actually a self-employed owner of a
candy store. The file contains no evidence that the originator ever obtained any
documentation to verify the borrower s employment, let alone to investigate the
obvious discrepancy m the loan file.

Loan J ("‘******208): 7In a loan that closed in 2006, the borrower secured a --
mortgage with an original principal balance of $'179,980.00. 111 the loan
application,'the borrower’s claimed occupation was acting as the owner/operator of
a fitness business A letter in the loan file purportedly written by a tax preparer
verified the borrower’s claimed self-employment Later research by the Re-
Underwriting Firm revealed that the tax preparer had in fact never provided that
letter, and that the information in that letter was not accurate.

iv. Debt-to-Income Ratio Exceeding Guidelines

The Re-Underwriting Firm also discovered that the Trust contained numerous

Loans with breaches due to higher than represented DTIs (i.e., the percentage of a consumer’s

income that goes toward paying debts). Loans containing misrepresentations about DTI likewise

breach the no-fraud and no-default representations and warranties identified above, as well as the

representation that the Mortgage Loan Schedule is complete and correct, MLPA § 10(a)(1).

Breaches arising from incorrect DTI also have a material and adverse effect on the value of the

applicable Loan and the interest therein of the Certificateholders because a borrower with

dangerously high level of debt obligations in relation to the borrower’s income is less likely to be

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able to repay the Loan, making it more risky than represented The following are a few of the

many examples of breaches relating to incorrect Dle

 

of 50% for a stated income loan. However, the borrower’s real income, as verified
through a 2007 tax return that was submitted to the originator’s loss-mitigation
department, resulted in an actual DTI of 401 .61%.

0 Loan L ("”"****911): The loan approval in the loan file permitted a maximum DTI
of 43% for a full income loan. However, the borrower’s real income, as verified

through documents created in the loss-mitigation process resulted in an actual DTI
of 77 8%.

v.- ' `Misrepresentations of Occupancy

58. The vRe-l,lnderwriting Fir_m also discovered that the Trust contained numerous
Loans with breaches due to misrepresentations of occupancy (regarding whether the owner of the
property actually-intends to reside there). Misrepresentatio`ns of occupancy breach the_no-fi'aud
and no-default representations identiEed_ above, as well as_ the representation that “[t]he
information set forth in the Mortgage Loan Schedule relating to the Mortgage Loans is complete,
true and correct as of the Cut-off Date,”- MLPA § lO(a)(l.). Breaches arising from
misrepresentations of occupancy materially and adversely affect the value of that Loan and the
interest therein of the Certificateholders because non-owner-occupied mortgages are generally
riskier than owner-occupied mortgages A borrower is less likely to default on, and walk away
nom, a mortgage secured by her primary residence than she is with respect to a Loan secured by
a second home or investment property. Owner-occupied properties are also generally better
maintained and hold their value better than otherwise equivalent rental or investment properties
The following are a few of the many examples of breaches relating to misrepresentation of
occupancy:

0 Loan M (*******495): 1n a loan that closed in 2007, the borrower secured a
mortgage with an original principal balance of $149,000. 1n the loan application,

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o ""`""I§ban"K'(**°"**;21221:'"The`lhaii""aiipioval in the loan file permitted'ainaximumDTl

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the borrower claimed that the mortgaged property would be owner-occupied

However, a contact information form that the borrower signed as a part of the loan

application listed the borrower’s previous address as the place to send mail to the

- --i¢ -- W ~¢borrower.iPost-elosing-doeumentation-relating-tothemertgage-was,¢in-faet,¢sent-to-

` mma M"'W`tlie"b`(iiioWef"§""_`pfeviou§”a"ddfess"`l'm"llai'e"l°"`aria_lysis by"¢th'e Rethdei‘iX/Titin'g"' Fii'i'ri
confirmed that the borrower has continued to live at his previous address from the
closing date of the Morgan Stanley Capital loan through the present year.

0 Loan N (*"‘***"="‘841): In a loan that closed in 2007, the borrower secured a
mortgage with an original principal balance of ‘8138,600.00. The borrower claimed
on the loan application that the mortgaged property would be owner-occupied
However, lender correspondence about the borrower’s loan sent to the mortgaged
property was returned unopened Further, a letter sent to the originator’s loss-
iiiitigation office claimed that the borrower never occupied the mortgaged property. _
Although those red flags would put any originator on notice of misrepresentation,
there is no evidence in the loan file that the originator attempted to verify the
borrower’s occupancy status Later analysis by the Re-Underwriting Firm revealed
that the borrower continued to reside at his previous address through the present
year. ' -

o Loan 0 (****"‘565)":'4 In a loan that closed in 2006, the borrower secured a
mortgage with an original principal balance of $536,000.00. On the loan
application, the borrower claimed that the mortgaged property would be owner-
occupied. However, documents later submitted to the originator _'as well as
information later revealed by the work of the Re-Underwriting Firm - demonstrate "
that the borrower continued to reside at her previous home and instead rented out
both units of the mortgaged property.

vi. Non-Arm’s Length Transactions
59. The Re-Underwriting Firm also discovered that the Trust contained numerous
Loans that were tainted by collusion between buyers sellers brokers and other parties who were
supposed to be negotiating on an arm’s-length basis Non-arm’s length transactions at the least,
breach the representation and warranty that the Mortgage Notes are legal, valid, and binding,
MLPA § lO(b)(S), as well as the representation that Morgan Stanley Capital held good,
indefeasible, and marketable title in the affected Loan at the time such Loan was sold to the

Trust, id. § 10(b)(18). Non-arm’s-length transactions may also put the originator on notice of

other borrower misrepresentations Non-arm’s-length transactions materially and adversely

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affect-the value of the subject Loan, by making it less likely that the resulting Loan is the product

of sound underwriting and related practices The following are a few of the many Loans that

 

`""were not"`the product ofarrn’s`l`l`erigth¢transactions`."`m mm ' " '

IV.

60.

 

Loan P ("‘"‘"‘***"‘284): The borrower secured a mortgage with an original principal
balance of $120,000.00. lnformation on the deed of trust showed that the
borrower’s husband was both the mortgage broker listed on the loan application and
the client listed on the appraisal. Likewise, the person signing the appraisal report
for the subject property was the same person who signed a form verifying the
borrower’s employment Those signs would have put any underwriter on notice
that the transaction was not an arm’s length one. However, there is no evidence in
the loan file that the underwriter performed any inquiry into possible borrower
collusion. ~

Loan Q ("’****526): The boirowersecured a mortgage with an original principal

balance of $159',000.00_. The mortgage broker listed on the Loan Approval and
fmal HUD-l was also listed as the selling real estate agency on the final HUD-l.
Additionally, data from the California Department of Real _Estate2 showed that the
two companies are the same, and the loan officer listed on the loan approval was the
designated officer of the company. Those signs Would have put any underwriter on
notice that the transaction was not an arm’s length one. But there is no evidence
within the loan file that the lender investigated this non-arm’s-length transaction.

Loan R ("‘*"‘****873): The borrower secured a mortgage with an original
principal balance of 8100,000.00. The mortgage broker on the loan application and
the selling real estate agency shown on the purchase contact were afEliated
businesses The loan application and the purchase contract showed that the entities
both operated at the same address And the California Department of Real Estate
showed that the entities were both in fact the same broker doing business under two
separate brand names Those signs would have put any underwriter on notice that
the transaction was not an arm’s length one. However, there was no evidence
within the loan file that the lender investigated this non-arm’ s-length transactioii.

MoRGAN STANLEY CAPITAL BREACHES lrs NoTiCE ANi)' REruncHAsE
OBLIGATioNs

A. Morgan Stanley Capital’s Breaches of Its Notice Obligations

The foregoing breaches and many others throughout the Loans are so pervasive, and

their nature is so flagrant, that Morgan Stanley Capital must have discovered them long ago.

 

2 The California Department of Real Estate became the California Bureau of Real Estate on July 1, 2013.

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61. On information and belief, Morgan Stanley Capital performed such due diligence

review on the Loans prior to including them in the 2007-l Deal, and thus had knowledge of

" "'""'_ '""defi`oieneies in the "loan'pool‘.'“"Tlie' Prospectus Supplen'i'e'nt supplied to" i'ii\'/esto'rs‘"'iri'"‘<:t)"'"nrrectionj w
with the 2007-1 Deal provided as follows:

Prior to acquiring any residential mortgage loans MSMCH conducts a review of
the related mortgage loan seller that is based upon the credit quality of the selling
institution MSMCH’s review process may include reviewing select financial
information for credit and risk assessment and conducting an underwriting
guideline review, senior level management discussion and/or background checks . .
The underwriting guideline review entails a review of the mortgage loan origination
processes and systems In addition, such review may involve a consideration of
corporate policy and procedures relating-to state and federal predatory lending,
origination practices by jurisdiction, histoi'ical`loan level loss experience, quality
control practices significant litigation and/or material investors

62. 1n addition, upon information and belief, a reputable mortgage loan due diligence
provider provided due diligence toMorgan Stanley, and found that 63;000 loans that Morgan
Stanley had sponsored had a rejection rate of 37 percent; nevertheless Morgan Stanley Capital
waived in 56 percent of them, Witliout ever notifying the Trustee or any of the Trust’s
certificateholders.

63. If Morgan Stanley Capital performed pre-securitization due diligence on the Loans
consistent with representations that it made in the Prospectus Supplement, Morgan Stanley
Capital would have discovered material violations of underwriting guidelines that breach its
representations and warranties regarding the Mortgage Loans Indeed, the high rate of breaches
identified in the Breach Notice demonstrates that any due diligence conducted on the Loans
would necessarily have identified breaches of representations and warranties

64. Nevertheless, Morgan Stanley Capital has never issued notification to the Trustee

indicating it has discovered any breaches of the representations and warranties it made.

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65. Morgan Stanley Capital’s breach of its duty to notify is grossly negligent given that

Morgan Stanley Capital had previously discovered pervasive problems with the Loans Upon

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gross negligence in failing ito exclude Defective Mortgage Loans they had discovered from the
Trust or notify the Trustee or any other parties regarding such discovered breaches
66. Morgan Stanley Capital’s awareness of widespread defects in the Loans also shows
that it has waived any benefit it might obtain from the notice provisions in Section 10 of the
MLPA because providing further notice to Morgan Stanley Capital would be futile. Morgan
Stanley Capital has known for years that Defective Mortgage Loans were included in -`the loan
_pool, but Morgan Stanley Capital refused to fulfill its obligations `to provide notice of those
_ defects and to cure or repurchase such Defective Mortgage Loans Providing notice to Morgan
Stanley Capital of defects it already discovered would be pointless because-_l\/lorgan Stanley
l Capital failed to honor its obligations after discovering Defective Mortgage Loans
B. Morgan Stanley Capital’s Breaches of Its Repurchase Obligations
67. The 90-day period for Morgan Stanley Capital to cure or repurchase the Defective `
Mortgage Loans identified in the Letter and Breach Notice (including the defective Accredited
Mortgage Loans) expired on July 3, 2013. At the conclusion of that period, Morgan Stanley
Capital had failed to cure or repurchase a single one of the Defective Mortgage Loans identified
by the Trustee, notwithstanding its clear obligation to do so under the PSA and MLPA. Since
then, Morgan Stanley Capital has repurchased 149 Loans but has failed to abide by its

contractual obligations with respect to the remaining 1,471.

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and MLPA’s terms and the commercially reasonable expectations of the parties

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68. Morgan Stanley Capital’s refusal to honor its obligations shifted the risk occasioned

by the Defective Mortgage Loans onto the Trust and Certificateholders in violation of the PSA

 

 

69. The purpose of the repurchase remedy is to secure for the Trust (on behalf of the
Certificateliolders) the economic benefit of the bargain and to place the risk of Defective
Mortgage Loans upon Morgan Stanley Capital. To the extent the repurchase remedy does not
achieve that puipose, Plaintiff is entitled to alternative remedies including an award of damages

CLAIMS FOR RELIEF
Count One
(Breach of Contract _ Breach of
Morgan Stanley Capital9s Representations and Warranties)

70. Plaintiff repeats and realleges each and every allegation contained in paragraphs 1

through 69, inclusive, of this Complaint as if fully incorporated herein.

71. Morgan Stanley Capital made certain representations and warranties concerning the

condition of the Loans to facilitate their ultimate sale to the Trust in exchange for valid
consideration paid These representations and warranties were made by Morgan 8tanley Capital
to the Trustee, who acts under the PSA for the benefit of the Certificateholders
; 72. Morgan Stanley Capital obligated itself in Section 10 of the MLPA to cure or
repurchase Loans upon notice or discovery that such Loans are in breach of the representations
and warranties it made and that such breaches materially and adversely affect the value of the
Loans or the interests of the Trust and Certificateholders'therein.
73. `l\/[oi'gan Stanley Capital has breached the representations and warranties it made
with respect to the Defective Mortgage Loans held by the Trust
74. The Trustee has performed all of its obligations under the PSA and MLPA required

to be performed in connection with the matters described herein, and has not breached any

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obligation or excused the performance by Morgan Stanley of any of its obligations under the

PSA and MLPA. The Trustee has substantially complied with any applicable notice

 

""""""""""""""""""" ' requirements `oi`coniplianee has 'b`ee`ri`i"eiidered'hitile` by Morgan"Stahley"`Capital"s actions a " `

75 . Morgan Stanley Capital’s breaches of representations and warranties have
materially and adversely affected the value of the Trustee’s and Certificateholders’ interests in
the Defective Mortgage Loans within the meaning of Section 10 of the MLPA.

76. _ Morgan Stanley Capital’s cure and repurchase obligations arise whether Morgan
Stanley Capital discovers the Defective Mortgage Loans on its own or is provided notice thereof
by the Trustee.

77. Morgan Stanley Capital discovered the Defective Mortgage Loans on its own,
thereby triggering its cure and repurchase obligations

78. Pursuant to die Breach Notice, Morgan Stanley Capital was notified under the PSA
and MLPA that it had breached the representations and warranties it made with respect to 1,620
specific Loans (including approximately 300 Loans originated by Accredited), and that those
breaches materially and adversely affected the value of the Loans and the interest of the Trustee
or the Certificateholders therein, again triggering its repurchase obligations and placing it on
notice that widespread breaches existed throughout the entire pool of Loans The aggregate
Purchase Price for the 1,620 noticed Loans is approximately $320,268,383.

79. As a direct and proximate result of Morgan Stanley Capital’s breaches of the
representations and warranties it made, the Trust has suffered and continues to suffer significant
damages Accordingly, Morgan Stanley Capital should be required to pay compensatory
damages for the harm-it has caused the Trust by breaching the representations and warranties it

made.

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80. Plaintiff is therefore entitled to damages caused to the Trust by Morgan Stanley

Capital’s conduct, in an amount to be proven at trial.

 

‘81“`Plain"tiff"`is also entitled to an order of specific"p`erfor'inance "reqliiriiig 'Morga`ii "
Stanley Capital to repurchase all Defective Mortgage Loans in the Trust that Morgan Stanley
Capital has not yet repurchased The Trustee reserves the right to seek repurchase of additional
Loans (and to introduce evidence of additional breaches affecting previously noticed Defective
Mortgage Loans) based on discovery, investigation, and further forensic analysis of loan files for
other Mortgage Loans held in the Trust
82. The Trust is also entitled to rescission or rescissory damages Rescission is

warranted because Morgan Stanley Capital is in willful and material breach of the PSA, as
shown by its failure to repurchase Loans and repudiation of its repurchase obligations after _
explicit notice from the Trustee, and because, upon infoimation and beliefz._l\/forgan Stanley
Capital was aware that the Defective Mortgage Loans were in breach well before receiving the
Trustee’s notice

7 83. Morgan Stanley Capital’s breaches are so widespread as to defeat the purpose of the
contract Allowing Morgan Stanley Capital to escape its contractual repurchase obligations at
the Trust’s expense would be inequitable To the extent rescission itself is impractical, or would
not achieve its essential purpose, rescissory damages should be awarded to achieve the financial
equivalent for the Trust of rescission.

' Count Two
(Breach of Contract _ Breach of Morgan Stanley Capital’s Repurchase
Obligations)

84. Plaintiff repeats and realleges each and every allegation contained in paragraphs 1

through 83, inclusive, of this Complaint as if fully incorporated herein.

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7 785. Morgan Stanley Capital made certain representations and warranties concerning the

Loans to the Trust and the Trustee.

 

 

mm"86. Morgan Stanley Capital obligated itself in Section `1`0"`6'f the"'l\P/I;P`K"io` aure""dii"“"‘

repurchase Loans upon notice or discovery that such Mortgage Loans are in breach of its
representations and warranties and that such breaches materially and adversely affect the value
of the Loans or the interests of the Trustee and Certificateholders therein, ~

87. The Defective Mortgage Loans held in the Trust breach Morgan Stanley Capital’s
representations and warranties Such breaches have materially and adversely affected the value
of such Loans and the 71rustee’s and Certificateholders’ interests therein within the meaning of
Section 10 of the MLPA.

~ 7' 88. 7P1u‘suant to Section 10 of the MLPA; Morgan Stanley Capital is obligated to cure
each such breach or repurchase the subject Defective Mortgage Loan at the contractually defined
Purchase Price

89. Pursuant to the Breach Notice, Morgan Stanley Capital was notified under the PSA 7
and MLPA that it had breached the representations and warranties it made with respect to 1,620
specific Loans (including approximately 300 Loans originated by Accredited), and that those
breaches materially and adversely affected the value of the Loans and the interest of the Trustee
or the Certificateholders therein, again triggering its repurchase obligations and placing it on
notice that widespread breaches existed throughout the entire pool of Loans The aggregate
Purchase Price for the 1,620 noticed Loans is approximately $320,268,383.

90. Morgan Stanley Capital has failed to cure any of its breaches of representations and

.warranties and failed to repurchase over 90% of the Loans for which it has breached

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representations and warranties Those failures constitute further breaches of Morgan Stanley

Capital’s obligations under the PSA and MLPA and a repudiation of those contracts

 

required to perform in coiniectioii with the matters described herein and has not breached any
obligation or excused the performance by Morgan Stanley Capital of any of its obligations under
7 the7 .Agreements. The Trustee has complied with any applicable notice requirements or
compliance has been rendered futile by Morgan Stanley Capital’s actions

92. Plaintiff is therefore, entitled to an order of specific performance requiring Morgan
Stanley Capital to_ repurchase all Defective Mortgage Loans that Morgan Stanley _(_]apital has not 77
yet repurchased at the Purchase Price. The Trustee reserves the right to seek repurchase of
additional Loans (and'to introduce evidence of additional breaches affecting previously noticed
Defective Mortgage Loans) based on discovery, investigation, and fin'ther forensic analysis of
loan files for other Loans held in the Trust 7 7

93. As a direct and proximate cause of Morgan Stanley Capital’s breaches of its
repurchase obligation, the Trust has suffered and continues to suffer significant damages
Accordingly, Morgan Stanley Capital should be required to pay compensatory damages for the
harm it caused to the Trust by its conduct

94. The Trust is also entitled to rescission or rescissory damages Rescission is
' Warranted because Morgan StanleyCapital is in willful and material breach of the Agreements,_
as shown by its failure to repurchase Loans and repudiation of its repurchase obligations after
explicit notice from the Trustee, and because, upon infoimation and belief, Morgan Stanley
Capital discovered that the Defective Mortgage Loans were in breach well before receiving the

Trustee’s notice. Morgan Stanley Capital’s breaches are so widespread as to defeat the purpose

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of the contract Allowing Morgan Stanley Capital to escape its contractual repurchase

obligations at the Trust’s expense would be inequitable To the extent rescission itself is

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achieve the financial equivalent for the Trust of rescission.
95 . Plaintiff is therefore entitled to damages caused to the Trust by Morgan Stanley
Capital’s conduct, in an amount to be proven at trial.

Count Three .
__(l_}reach of Contract -- Breach of Morgan Stanley Capital’s Obligation to Notify)

96. Plaintiff repeats and realleges each and every allegation contained in paragraphs l
. through_9757, inclusive,7 of this Complaint as if fully incorporated herein. 77

97. `Morgan Stanley7Capital_ made certain representations and warranties in the
MLPA, including representations and warranties regarding the condition 7of the Loans

98. Under Section 10 of the MLPA, Morgan Stanley Capital was required to give
prompt written notice to the Trustee7 upon discovery of a breach of theserepresentations and
warranties

99. Upon information and belief, Morgan Stanley Capital discovered that the Defective
Mortgage Loans breached Morgan Stanley Capital’s representations and warranties but failed to
give prompt written notice of any breaches to the Trustee, Morgan Stanley Capital thereby
breached its obligations to the Trustee under the PSA and MLPA. '

100. The Trustee has performed the obligations under the PSA and MLPA required to
bring suit and has not excused the performance by Morgan Stanley Capital of any of its
obligations under the Agreements.

101. The Trust has been injured and suffered damages because of Morgan Stanley

Capital’s breaches

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102. Morgan Stanley Capital must specifically perfomi its obligations under the PSA and

MLPA and give prompt written notice of any breaches of its representations and warranties

"" ` ` ""`"10'3". hiorgaahtamey` Capitalv must also payfh:'l`rust damagescausedhyjits“failuret:) 77 77 7
notify the Trustee and other parties that representations and warranties had been breached

104. Morgan Stanley Capital is therefore entitled to damages caused to the Trust by
Morgan Stanley Capital’s conduct, in an amount to be proven at trial.

105. The Trust is also entitled to rescission or rescissory damages Rescission is
warranted _`because Morgan Stanley Capital is in willful and material breach of the Agreements,
as shown by its failure to provide notice even though Morgan Stanley Capital was aware that the
Defective Mortgage Loans .were in breach. Such breaches are so77widespread as to defeat the
purpose of the contract Allong Morgan Stanley Capital to escape its contractual repurchase

obligations at the Trust’s expense77 would be inequitable T_o_ theextent rescission itself is
impractical, or would not achieve its essential purpose, rescissory damages should be awarded to
achieve the f'mancial equivalent for the Trust of rescission.

106. Plaintiff is therefore entitled to damages caused to the Trust by Morgan Stanley

Capital’s conduct, in an amount to be proven at trial.

Count Four
(Breach of the Implied Covenant of Good Faith and Fair Dealing)

107. Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 106, inclusive, as if fully incorporated herein.

108. Morgan Stanley Capital has contended - wrongly - that Plaintiff is entitled to no
relief even though hundreds of breaching Loans were discovered by Morgan Stanley Capital yet
deposited into the pool, causing the Trust to suffer massive losses

109. By (i) depositing large numbers of Defective Mortgage Loans into the Trust, (ii)

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" good faith aiid"fait"de_aliiig.

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' then keeping silent about the defects and (iii) contending that the Trustee has no right to have

those breaching Loans repurchased, Morgan Stanley Capital breached the implied covenant of

 

 

 

110. Morgan Stanley Capital acted in a commercially unreasonable manner and took
bad-faith steps or failed to~ take steps it was obligated to take Morgan Stanley Capital failed to
disclose the Defective Mortgage Loans and voluntarily cure or repurchase over 90% of the
Loans Morgan Stanley Capital’s wrongful conduct is designed to deprive the Trustee, the Trust,
and the Certificateholders of the benefit of their bargain and prevent them from realizing the
intended purpose of the MLPA and PSA. 7 7

lll. The Tr_u_st has been damaged and will continue to be damaged 7i11 an amount to be
determined at trial.

PRAYER Foii RELfEF _
_ WHEREFORE, the Trust, acting through the Trustee, respectfully requests that thev
Court enter judgment in its favor and against Morgan Stanley Capital as follows:

(1)7 Enter Judgment in favor of -Plaintiff and against Morgan Stanley Capital
on Plaintiff’s claims that Morgan Stanley Capital has breached the representations and '
warranties it made, its notice obligations and its cure and repurchase obligations with respect to
each of the Defective Mortgage Loans including, but not limited to, each of the Defective
Mortgage Loans identified in the Breach Notices (and including the defective Accredited
Mortgage Loans), at the defined purchase price;

(2) Enter an order of specific performance requiring Morgan Stanley Capital
to repurchase each of the Defective Mortgage Loans that Morgan Stanley Capital has not yet

repurchased including, but not limited to, each of the Defective Mortgage Loans identified in the

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Breach Notice (and including the defective Accredited Mortgage Loans), at the defined Purchase

Price;

 

Morgan Stanley Capital in an amount to be proven at trial;
(4) Award attorneys’ fees costs and other related expenses;
(5) Award pre-judgment and post-judgment interest; and

(6) Award such further relief as this Court deems just and proper.

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Steven F. Molo
.Tustin M. Ellis
MOLO LAl\/IKEN LLP
540 Madison Avenue

New York, NY 10022
(212) 607-8160 (telephone)
(212) 607-8161 (facsimile)

Attorneysfor Plainti]j”

